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           IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTMCT OF GEORGIA
                          ATLANTA DIVISION


BONNIE ROSE,                              *

                                          *

                                          *
              Plaintiff,

      V.                                            1:19-CV-5673-ELR
                                          *

                                          *
WVMF FUNDING, LLC, et al.
                                          *

              Defendants.                 *

                                          *




                                    ORDER


      This case is before the Court on a frivolity determination pursuant to 28 U.S.C.

§ 1915(e)(2)(B). Magistrate Judge John K. Larkins granted Plaintiff in forma

pauperis ("IFP") status and deferred any determinations with respect to subject matter

jurisdiction and frivolity. [Doc. 2]. The matter has been submitted to this Court for

such determination. As such, the Court's mlings and conclusions are set forth below.


   I. Legal Standard

      Pursuant to 28 U.S.C. § 1915(e)(2)(B), a "court shall dismiss [an IFP claim]

at any time if the court determines that... the action or appeal (i) is frivolous or

malicious; (ii) fails to state a claim on which relief may be granted; or (iii) seeks

monetary relief against a defendant who is immune from such relief. A lawsuit is
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frivolous if it is 'without arguable merit either in law or fact.'" Gary v. U.S. Gov't,

540 F. App'x 916, 917 (llth Cir. 2013) (quoting Napier v. Preslicka, 314 F.3d 528,

531 (11th Cir. 2002)). "Dismissal for frivolity is warranted when a claim is based

on an indisputably meritless legal theory, [the claim] relies on factual allegations

that are clearly baseless, which includes allegations that are fanciful, fantastic, and

delusional, or the facts alleged rise to the level of the irrational or the wholly

incredible." Gary, 540 F. App'x at 917.


      Whether a complaint fails to state a claim under Section 1915(e)(2)(B)(ii) is

governed by the same standard applicable to motions to dismiss under Federal Rule

of Civil Procedure 12(b)(6). Reddy v. Gilbert Med. Transcription Serv., Inc., 588 F.

App'x 902,903(11th Cir. 2014). Dismissal for failure to state a claim is appropriate

if the facts as pleaded fail to state a claim for relief that is "plausible on its face."

Ashcroft v. Iqbal, 556 U.S. 662, 678 f2009) (citation omitted); see also Rembert v.

Florida, 572 F. App'x 908, 909 (11th Cir. 2014). A complaint fails to state a claim

when it lacks "enough factual matter (taken as true)" to "give the defendant fair

notice of what the ... claim is and the grounds upon which it rests." Bell Atlantic


Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). A plaintiff is required to provide

"more than labels and conclusions, and a formulaic recitation of the elements of a


cause of action will not do." Id. A plaintiff must offer "more than an unadomed,


the-defendant-unlawfully-harmed-me accusation." Iqbal, 556 U.S. at 678. "Nor
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does a complaint suffice if it tenders 'naked assertion[s]' devoid of 'further factual

enhancement.'" I(L (alteration in original) (quoting Twomblv, 550 U.S. at 557).

      As is relevant here, a complaint pleaded pro se is "held to a less stringent

standard than pleadings drafted by attorneys and are liberally constmed." Bingham

v. Thomas, 654 F.3d 1171, 1175 (llth Cir. 2011) (citation and internal quotation

marks omitted). The Court "must look beyond the labels of filings by pro se

plaintiffs to interpret them under whatever statute would provide relief." Wilkerson

v. Georgia, 618 F. App'x 610, 611 (11th Cir. 2015) (alterations omitted). However,

the Court cannot rewrite a deficient pleading, and pro se plaintiffs are required to

comply with the threshold requirements of the Federal Rules of Civil Procedure.

Lizana-Jackson v. U.S.-Dep't of the Treasury, No. 1:13-CV-3815-AT, 2013 WL


7118115, at *2 (N.D. Ga. Nov. 25,2013).


   II. Discussion


      Plaintiff, Bonnie Rose, proceeding pro se, 'filed a Complaint purportedly

against Defendants WVMF Funding, LLC; GMAC Mortgage, Quicken Loans, LLC;

Rescap Liquidating Tmst; and Rubin Lublin LLC. Compl. [Doc. 3]. In her

Complaint, Plaintiff appears to allege that Defendants breached an agreement to

honor a loan modification allegedly approved by GMAC Mortgage. Id. at 4.

Plaintiff further contends that "at a certain point during the mortgage process,"

Defendant WVMF sent Plaintiff a "default letter and began foreclosure proceedings
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on the said property located at: 3019 Saint Andrews Court, Jonesboro, GA 3 023 6."

Id. Plaintiff appears to allege that the referenced foreclosure is wrongful and seeks

injunctive relief, compensatory, and punitive damages. Id at 5. As is currently pled,

it is unclear to the Court under what theory or violations of law Plaintiff contends

she is entitled to relief from, and which of the named Defendants such relief is sought

against. Plaintiff also failed to identify the date and nature of the alleged pending

foreclosure sale.


      As such, after a review of Plaintiff s Complaint, the Court finds that it is due

to be dismissed for failure to state a claim. The Complaint contains conclusory and

vague allegations, is short on factual allegations to support any claims, and does not

set forth a basis for relief. Such a shotgun pleading is insufficient. See Weiland v.

Palm Beach Ctv. Sheriffs Office, 792 F.3d 1313, 1322-23 (llth Cir. 2015) (types

of shotgun pleadings include complaints "replete with conclusory, vague, and

immaterial facts not obviously connected to any particular cause of action" and


complaints "not separating into a different count each cause of action or claim for


relief). In short, Plaintiffs Complaint fails to identify a proper defendant, and fails

to give the purported defendant "adequate notice of the claims against [him] and the

grounds upon which each claim rests." Id at 1323. Moreover, the Court is unclear


not only of the type of claim(s) Plaintiff intends to bring, but also the basis for the

Court's federal subject matter jurisdiction.
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      The Eleventh Circuit has "held that when a more carefully drafted complaint


might state a claim, a plaintiff must be given at least one chance to amend the

complaint before the district court dismisses the action with prejudice." Gary, 540

F. App'x at 917; Langlois v. Traveler's Ins. Co., 401 F. App'x 425, 427 (llth Cir.


2010). Accordingly, the Court permits Plaintiff an opportunity to amend the

complaint.


   HI. Conclusion


      For the foregoing reasons, the Court DISMISSES WITHOUT PREJUDICE

Plaintiffs Complaint [Doc. 3]; GRANTS Plaintiff leave to amend the complaint and

re-file an amended complaint within thirty (30) days from the date of entry of this

order; and DIRECTS the Clerk to submit this action after 30 days. Plaintiffs failure

to file an amended complaint within the time allotted will result in dismissal of this


action pursuant to 28 U.S.C. § 1915(e)(2)(B).
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      SO ORDERED, this ^" day of December, 2019.




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                                             Eleanor L. Ross
                                              United States District Judge
                                             Northern District of Georgia
